      Case 3:11-cr-00012-RLY-WGH
      Case 3:11-cr-00012-RLY-CMM Document
                                  Document406-1
                                            413 (Court
                                                  Filedonly)
                                                       08/05/15
                                                             Filed Page 1 of 1Page
                                                                   07/31/15    PageID
                                                                                   1 of#:1
                                          1367
                                     PageID #: 1355
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                          Southern District
                                                        __________ District of
                                                                            ofIndiana
                                                                               __________

                     United States of America
                                v.                                         )
                                   Eric Baker                              )
                                                                           )    Case No: 3:11CR00012-005
                                                                           )    USM No: 10889-032
Date of Original Judgment:                              05/09/2012         )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   70                      months is reduced to 60 months                            .
                                                (Complete Parts I and II of Page 2 when motion is granted)




    A CERTIFIED TRUE COPY
    Laura A. Briggs, Clerk
    U.S. District Court
    Southern District of Indiana

    By
                          Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                          05/09/2012              shall remain in effect.
IT IS SO ORDERED.

Order Date:                8/05/2015
                                                                                                         Judge’s signature


Effective Date:                11/01/2015                                Honorable Richard L. Young, Chief U.S. District Court Judge
                       (if different from order date)                                                  Printed name and title
